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       2.      This action arises from a series of events, beginning on or about May 5, 2011

when Plaintiff was brutally attacked by certain of the named-Defendants at the George R. Vierno

Center (“GRVC”) on Rikers Islan d, East Elmhurst New York (the “Incident” or “Assault”). At

the time of the Assault, Plaintif f was a p re-trial detainee awaiting trial and sentencing, and only

nineteen years old.

       3.      To conceal their assau lt, th e Assaulting Officers, defined infra, conspired with

other named-Defendants to, amongst other things, l odge disciplinary infractions against Mr. Alli

for a number of offenses, for which a hearing was held on May 13, 2011 (the “Hearing”).

       4.      The Hearing was riddled with due proce ss def iciencies, w hich ran afoul of Mr .

Alli’s cons titutional righ ts, the polic ies and dire ctives of the New York City Departm ent of

Corrections (the “Department” or “DOC”) and the laws of the state of New York.

       5.      As a cons equence of thes e m assive b reaches, Mr. Alli was            con fined to

disciplinary segregation for 100 days, during wh      ich tim e certain nam ed-Defendants caused

Plaintiff to endure heinous confinement conditions and exhibited deliberat e indifference towards

Mr. Alli’s serious medical needs.

       6.      As a result of   these a nd other d eprivations describ ed h erein, Mr. Alli ha s

sustained permanent physical injuries, including but not lim ited to reduced vision, hearing loss,

and other physical injuries as well as emotional harm.

       7.      Plaintiff seeks m onetary dam ages (specia l, compensatory, a nd punitive ) against

all Defendants, public disciplining and sanctioning of certain Defendants named herein, an award

of costs and attorneys’ fees, and such other relief as the Court deems just and proper.




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                                 JURISDICTION AND VENUE

       8.      Jurisdiction is proper unde r 28 U.S.C. §§ 1331 because P laintiff seeks to enforce

rights secured by 42 U.S.C. § 1983, 1988. This Cour t also has jurisdiction over Plaintiff’s state

law claims pursuant to 28 U.S.C. § 1367.

       9.      Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and (c).

                                      DEMAND FOR JURY

       10.     Plaintiff hereby dem ands a trial by jury of any and all is sues per taining to th is

case including, but not limited to, damages.

                                          THE PARTIES

       11.     Plaintiff Umar Alli is a United S tates Ci tizen. At all times alleged h erein, Mr.

Alli was a pre-trial detainee in DOC custody, at GRVC.

       12.     Defendants Lisa Steward-Bowden, Ande rson Alceus, Sandy Arkhurst, Terrence

Dixon and Lydon Victor (“Assaulting Officers”) were, at all times referred to in this Complaint,

uniformed correction officers em ployed by DOC and assigned to G            RVC. The Assaulting

Officers were required to conduct their resp       onsibilities in accord ance with Departm ental

directives governing the use of force, inmate access to medical care, and the minimum standards

governing conditions of confinem ent es tablished by the New York City Board of Corrections

(“BOC”). At all tim es referred to in this Com plaint, Assaulting Officers acted within the scope

of their DOC employment and under color of state law. These Defendants are each sued in their

individual and official capacities.

       13.     Defendants Behari, Bunton, Dunbar, Phillip s, Rohr and Velez (“Uniform ed and

Supervisory Of ficers”) were, a t a ll tim es ref erred to in th is Com plaint, unif ormed of ficers,

captains and/or first-line supervisory offi    cers em ployed by DOC a nd assigned to GRVC.



                                                  3
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Uniformed and Supervisory Officers were required to pe rform their duties in a ccordance with

Departmental d irectives govern ing the use of force,       investigation thereo f, inm ate access to

medical care, inmate grievance procedures and BOC minimum standards. At all tim es referred

to in th is Complaint, Uniformed and Supervisor y Officers acted within th e scope of their DOC

employment and under color of state law. Thes e Defendants are each sued in their individu al

and official capacities.

        14.     Defendants Dora Schriro and Lewis Finkelm an were a t all tim es ref erred to in

this Com plaint, and still are,   the Comm issioner and First Deputy Comm          issioner of DOC,

respectively. Defendants Schriro and Finkelm an are legally responsible for the operation of all

Department facilities, includi ng but not lim     ited to the selec   tion, supervision, prom otion,

training, and discipline of the uni   formed staff, first-line supervisors, supervisory security

personnel and for the care, custody, and cont         rol of all inm ates in DOC custody. These

responsibilities were an d are required to be conducted in accordan ce with the leg al m andates

applicable to DOC facilities, incl uding but not lim ited to directiv es governing the us e of force,

inmate access to m edical care, inm ate grievance procedures and BOC minim um standards. At

all times referred to in this Complaint, Defendants Schriro and Finkelman acted within the scope

of their DOC em ployment and under color of           state law. T hese Defendants are su ed in h er

individual and official capacities.

        15.     Defendants Rose Agro and Kathleen Mulvey were, at all times ref erred to in this

Complaint, GRVC W ardens respon sible f or the supervision of Assaulting Off icers as well a s

Uniformed and Supervisory Officers, and for the care, custody and control of inm ates confined

to GRVC. These responsibilities were and are require d to be conducted in accordance with the

legal m andates applicable to DOC facilities, including but not lim ited to directives governing



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the use of force, inm    ate acces s to m edical care, inm ate grievance procedures and BOC

minimum s tandards. A t a ll ti mes r eferred t o i n this Com plaint, Defendants Agro an d Mulvey

acted within the scope of their DOC employment and under color of state law. Defendants Agro

and Mulvey are sued in their individual and official capacities.

       16.     Defendant Mark A. Scott was, at all tim         es r eferred to in this Complain t, a

Supervising W arden assigned to GRVC and re            sponsible for the supervis ion of Assaulting

Officers as well as Uniformed and Supervisory Officers, and for the care, custody and control of

inmates confined to GRVC. These responsibili ties were and are required to be conducted in

accordance with the leg al m andates applicab le to DOC facilities, inclu ding but not lim ited to

directives g overning th e use of force, inm      ate acces s to m edical care, inm ate grievan ce

procedures and BOC minimum standards. At all tim es referred to in this Complaint, Defendant

Scott acted within the scope of his DOC e mployment and under color of state law. Defendant

Scott is sued in his individual and official capacities.

       17.     Defendant Florence Finkle was, at all times referred to in this Complaint, Deputy

Commissioner of Integrity and Policy for th        e DOC. In this role, Defendant Finkle was

responsible for ordering and supervising the inve stigation of all use of force incidents and for

initiating recommendations for disciplinary action against officers and captains who engage in

misconduct. These responsibilities were to be conducted in accordance with the legal mandates

applicable to DOC f acilities. At all tim es referred to in this Com plaint, Defendant Finkle acted

within the scope of her DOC e mployment and unde r color of state law. She is sued in her

individual and official capacities.

       18.     Defendant Charlton Le mon was, a t a ll tim es ref erred to in th is Co mplaint,

Deputy Warden for Security for the DOC assigne d to GRVC. In this role, Defendant Lem on



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was responsible for the supervisi on of correction officers, captai ns and other supervisors with

respect to the care, custody and control of inm ates confined to GRVC. These responsibilities

were to be conducted in accordance with the legal mandates applicable to DOC facilities. At all

times referred to in this Complaint, Defendant Lemon was acting within the scope of his DOC

employment and under color of state law. De           fendant Lemon is sued in his individual and

official capacities.

        19.     Defendant Larry Davis, Sr. was, until approx imately December 2011, th e Chief

of the Depa rtment and was responsible for the         supervision, oversight and discipline of the

uniformed security staf f, including the superv isory se curity staf f, in all Depar tment jails,

including GRVC. The se respon sibilities were to be condu cted in acco rdance with the legal

mandates applicab le to DOC f acilities. At all times ref erred to in th is Com plaint, Def endant

Davis acted within the s cope of his DOC employment and under color of state law. He is sued

in his individual and official capacities.

        20.     Defendant Michael Hourihane was at all ti mes referred to in this Complaint until

approximately Decem ber 2011, Deputy Chief of Depart ment, and since Decem ber 2011 has

been Chief of Departm ent. As Deputy Chie           f, Defendant Hourihane was responsible for

monitoring and addressing all operational, safety        and sec urity m atters in DOC f acilities,

including GRVC. These responsi bilities included maintaining statistics on violen t incidents at

DOC facilities and creati ng procedures to protect the persona l safety of DOC staf f and inmates

confined to DOC custody. At all times referred to in this Complaint Defendant Hourihane acted

within the scope of his DOC e mployment and under color of state law. Defendant Hourihane is

sued in his individual and official capacities.




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       21.     Defendants Michael J. Regan and Hildy J. Simmons were, at all times referred to

in th is Complain t, Chair and Vice- Chair of th e BOC, res pectively. Defendants Regan and

Simmons were responsible for establishing           and ensuring com pliance with BOC m inimum

standards regulating conditions of confinement and hea lth care in a ll New York City ( “City”)

correctional facilities. These Defendants were required to actively investigate serious incidents,

evaluate DOC perfor mance, review inm ate grievances and m ake recommendations concerning

the sam e. At all tim es ref erred to in this Complaint, Defendants Regan and Simmons acted

within the scope of their DOC e mployment and under color of state law. These Defendants are

sued in their individual and official capacities.

       22.     Defendants Cathy Potler and Richard T. W olf, Esq. were, a t all times referred to

in this Complaint, Executive Director and Deputy Executive Director of the BOC, respectively.

These full-time DOC e mployees were responsible fo r ensuring that health care provided within

all DOC facilities, including GRVC, was m                aintained “at a level consistent with lega   l

requirements, accepted professional standards and sound professional judgm ent and practice.”

Together, D efendants P otler and Wolf were responsible for m onitoring the com pliance of all

DOC f acilities with the se m inimum standards . At all tim es ref erred to in th is Com plaint,

Defendants Potler and Wolf acted within the sc ope of their DOC e mployment and under color

of state law. These Defendants are sued in their individual and official capacities.

       23.     Defendant Kennith T. Ar mstead was, at a ll times referred to in this Com plaint,

Director of Field Operations a nd a full tim e employee of the BO C. I n this ro le, Def endant

Armstead supervised the daily activities of the field rep resentatives who are required to canvas

DOC facilities daily for purposes of monitoring compliance with BOC minimum standards. I n

this role, Defendant Arm stead was required to conduct frequent and targeted inspections of



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DOC facilities     to identify   and resolve know n problem s, including but not lim        ited to,

unjustifiable uses of force and conditions of         confine ment in breach of BOC Minim        um

Standards. At all tim es ref erred to in this Co mplaint, De fendant Arm stead acted within the

scope of his DOC e mployment and under color of state law. Defendant Ar mstead is sued in his

individual and official capacities.

        24.      Defendants Agro, Arm stead, Davis, Fi nkle, Finkelm an, Hourihane, Lem on,

Mulvey, Potler, Regan, Schriro, Scott, Simmons and W olf are he reinafter collectively referred

to as “Policy-making Defendants.”

        25.      At all tim es referred to in this Complaint, John Does 1 through 6 were fiel         d

representatives, serving as BOC’s “ eyes and ears ” into the City’s ja ils. These six Def endants

were responsible for conducting site visits at all DOC facilities for       the purpose of handling

prisoner and staff complaints and violent and unusual incidents within all DOC facilities. At all

times referred to in this Com plaint, John Does 1 through 6 acte d within the scope of their DOC

employment and under color of state law. Thes e Defendants are sued in their individual and

official capacities.

        26.      Defendant City of New York (“City”) is a municipal corporation, which, through

the Departm ent, operates a num ber of detenti on f acilities, including the GRVC. The DOC,

through its senior officials at the central office and in each facility, promulgates and implements

policies, in cluding policie s with respec t to th e use, reporting and i     nvestigation of force

employed by unifor med staff, inm ate grievanc e procedures and inm ate access to medical and

other services m andated by local law and court or ders. The DOC is also responsible for the

appointment, training, monitoring, supervisio n, hiring and conduct of all DOC personnel,

including the Defendants named herein.



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                                       NOTICE OF CLAIM

          27.    On June 8, 2011, and within ninety days of the accrual of the claims stated herein,

Plaintiff, Um ar Alli, served on the Com ptroller of the City of New York a Notice of           Claim

setting forth the tim e, place and m anner in which hi s claim s arose. M ore than 30 days have

elapsed since the Plaintiff’s Notice of Claim was served upon Defendant City and the matter has

not been settled or otherwise resolved.

                                   FACTUAL ALLEGATIONS

          28.    The conduct engaged in by the D      efendants nam ed herein was, at all tim     es,

subjectively and objectively unrea sonable and in viola tion of Mr. Alli’s clear ly e stablished

rights.

          Pre-textual Entry into Mr. Alli’s
          Punitive Segregation Cell
          29.    On May 5, 2011, Mr. Alli becam e yet another vi ctim of the “pattern of brutality ”

that h as becom e “deeply entrenched” in New York City jails.       See e.g. , Nunez v. City of New

York, No. 11-cv-5845 (LTS) (JCF) (S .D.N.Y. Aug. 30, 2012) (the sixt h and m ost recent class

action challenging the “routine and institutionalized staff violence against inmates” in New York

City ja ils); Ingles v. To ro, No. 01-cv-8279 (S.D.N.Y. Apr il 4, 2006) (requesting system -wide

relief from the excess ive use of force in New York city ja ils); Sheppard v. Phoenix , No. 91-cv-

4148 (S.D.N.Y. July 10, 1998) (challenging excessive us e of force in the City ’s Central Punitive

Segregation Unit);     Jackson v. Montemango , No. 85-cv-2384 (E.D.N.Y. Nov. 26, 1991)

(challenging the same conduct in the Brooklyn House of Detention); Reynolds v. Ward, No. 81-

cv-101 (S.D.N.Y. 1990) (challenging excessive a nd unnecessary force in the Bellevue Prison




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Psychiatric Ward); Fisher v. Ward, No. 83-cv-2128 (S.D.N.Y. Marc h 28, 1990) (challenging the

same conduct in the Eric M. Taylor Center, a Rikers Island jail).1

       30.     At the tim e of the Assault, Plaintiff   was housed in the GRVC Mental Health

Assessment Unit for Infracted Inmates (“MHAUII”).

       31.     At approxim ately 10:42 pm , De fendant Steward-Bowden along with Defendant

Arkhurst approached Plaintiff’s cel l door purportedly to serve Mr. Al li an infraction related to a

prior, unrelated incident.

       32.     At approxim ately 10:44 pm , a third offi cer joined Defendants Steward-Bowden

and Arkhurst outside of Mr. Alli’s cell. Upon information and belief Defendant Dixon was the

third officer. W hen De fendant Dixon arrived,        Defendant Steward -Bowden appeared to b e

completing the paperwork she intended to serve on Mr. Alli.

       33.     Shortly thereafter, Stew ard-Bowden opened the outer portion of the cuffing port

on Mr. Alli’s cell, purportedly to serve Mr. Al li the infraction. Upon infor mation and belief,

infractions are to be served beneath or through the side of the cell door.


       1
          In add ition to th ese class ac tions, senio r DOC superviso rs and un iformed staf f hav e
been repeatedly sued by inm ates alleging beatings by staff and DOC-s anctioned cover-ups. See,
e.g., Youngblood v. Baldwin , No. 08-cv-5982 (S.D.N.Y. July 22, 2009) (alleging a staff beating
at GRVC resulting in skull laceration and broken nose); Rice v. New York City Department of
Corrections, No. 03-cv-582 (S.D.N.Y. Aug. 26, 2004) (all eging the beating of two inm ates at
GRVC resulting in collapsed l ung and contusion hem atomas, in one case, and neck and spinal
cord in juries causing p ermanent stutte r, in the other ); Joseph v. New York City D epartment o f
Corrections, No. 02-cv-9219 (S.D.N.Y. May 28, 2003) (a lleging beat-up at GR VC resulting in
orbital fracture); see also Reynolds v. City of New York , No. 11-cv-621 (S.D.N.Y. Nov. 21,
2011); Williams v. City of New York , No. 09-cv-5734 (S.D .N.Y. Aug. 12, 2010); Lee v. Perez,
No. 09-cv-3134 (S.D.N.Y. March 12, 2010);            Shuford v. City of New York , No. 09-cv-945
(S.D.N.Y. Oct. 22, 2009); Belvett v. City of New York , No. 09-cv-8090 (S.D.N.Y. Nov. 18,
2010); Mull v. City of New York , No. 08-cv-8854 (S.D.N.Y. March 22, 2011); Diaz v. City of
New York , No. 08-cv-4391 (S.D.N.Y. March 24, 2009); Lugo v. City of New Yor k, No. 08-cv-
2931 (S.D.N.Y. Jan. 20, 2009); Williams v. City of New York , No. 07-cv-11055 (S.D.N.Y. Sept.
24, 2008); Cuadrado v. City of New York , No. 07-cv-1447 (S.D .N.Y. Dec. 26, 2007); Scott v.
City of New York, No. 07-cv-3691 (S.D.N.Y. Oct. 18, 2007).
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        34.     Prior to signing an Investigation Report and Infraction, an inm ate is to be given

an opportunity to such docum ents. Upon infor mation and belief, Defe ndant Steward-Bowden

used the cuf fing port in this ins tance to prev ent Mr. Alli f rom f ully reviewing the r eport and

infraction.

        35.     In addition to the im proper service of the infraction, Steward-Bowden attem pted

to pass Mr. Alli an unauthor ized pen not appropria te f or MAUII inm ates, per DOC and/or

GRVC official policy, procedure and directives.

        36.     Defendant Steward-Bo wden insisted th at Mr. Alli take her pen, although he

advised her that he had an authorized pen in his cell. Upon infor mation and belief, Defendant

Steward-Bowden intend ed to claim that M r. Alli h ad used her pen to harm him self thereby

justifying Defendants’ improper entry into Mr. Alli’s cell. 2

        37.     As Mr. Alli attem pted to review the inf raction, he observed that the inf raction

was in an unusual form . In particular, he obser ved that the infraction co ntained extra sheets of

paper after the signature page, separated by a piece of carbon paper.

        38.     Mr. Alli ask ed Defendant Steward-Bowden what was bene ath the c arbon paper.

Rather than answering Mr. Alli’s q uestion, De fendant Steward-Bowden chastised Mr. Alli to

“just hurry up, read . . . and sign” the infraction.

        39.     Mr. Alli explained that he wanted to avoi d signing something he could not read .

In order to read the infraction in its e ntirety and avoid signing papers he had not reviewed, Mr.

Alli attempted to review the portions of the infraction underneath the suspicious carbon paper.




        2
         The investigative and officers’ reports contain inconsistent and contradictory allegations
regarding Mr. Alli’s alleged    attempt to har m him self with Defendant Steward-Bowden’s
unauthorized pen; nonetheless, all Assaulting Officers maintain that this act prompted entry into
Mr. Alli’s cell.
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        40.    Growing increasingly impatie nt, Defendant Steward-Bowden told Mr. Alli he

was “taking too long” and pulled the infraction from the cuffing port, causing it to tear.

        41.    Mr. Alli tried to assu re Defendant Steward-Bowden that it was not his inten tion

for the infraction to rip. Defe ndant Steward-Bowden nonetheless ordered that the control room

officer open or “crack” Mr. Alli’s cell. Defendant Steward-Bowden gave the order to crack Mr.

Alli’s cell three or four times before control room officers took notice and opened the cell door.

        42.    Under DOC and/or GRVC official polic y, procedure and directives, Defendant

Steward-Bowden had no legitim ate, non-punitive purpose in entering Mr. Alli’s cell. To be

sure, Mr. Alli’s conduct warranted neither entry into his cell or the malicious and sadistic assault

that transpired upon entry.

        43.    Defendant Steward-Bo wden’s sole purpose in entering M r. Alli’ s cell was to

inflict harm upon Mr. Alli. U pon information and belief, Assaulting Officers were m otivated

solely by an interest in punishing Mr. Alli for misbehavior during Defendant Steward-Bowden’s

working shift (“tour”) and for previously fi     ling com plaints and grievances against DOC

officials.

        The Brutal Attack in Mr. Alli’s Cell

        44.    The brutal battery began imm ediately upon entry into Mr. A lli’s cell. Defendant

Arkhurst entered first, followed by Defendants Dixon and Steward-Bowden.

        45.    Defendant Arkhurst delivered the first blow, a strike to Mr. Alli’s left eye with a

closed fist. The force of the blow knocked Mr. Alli to the floor. While on the floor, Defendants

Arkhurst and Dixon repeatedly kicked, kneed, stomped and punched Mr. Alli.




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        46.     At approximately 10:46 pm, Defendants Alceus and Victor arrived and promptly

joined the attack.3

        47.     The Assaulting Officers’ comm ents—such as “we’re going to kill you;” “you

think you’re going to get away w ith fighting on our cap tain’s tour;” “take your beating like a

man;” “you deserve it;” and “cr       y like the little bitch you    are;” amongst other debasing

comments—demonstrate the malicious, sadistic and punitive motivations behind the attack.

        48.     In addition, the Assaulting Officers called     Mr. Alli “a sm art mouth,” “snitch,”

and asked whether he thought he could get away with “writing complaints and grievances.”

        49.     These statements make it clear that A ssaulting Officers were not acting in good

faith or in attem pt to r estore orde r but ra ther f or the sole purpose of   violating Mr. Alli’s

constitutional rights.

        50.     Mr. Alli b egged for the Assaulting Officers to stop, but th e beating co ntinued.

During this time, Defendant Steward-Bowden did nothing to stop the attack but rather watched

and encouraged it by cheering the other officers on.

        51.     Other inmates who were either in ear shot of Mr. Alli’s scream s or had a direct

view of the Assault beckoned for officers to cease the violent attack.

        52.     Realizing th at oth er in mates could see the attack, Defendant Steward -Bowden

turned off the lights in Mr. Alli’s cell.

        53.     Minutes later, Steward-Bowden signaled for Defendants Alceus, Arkhurst, Dixon

and Victor to end the A ssault because too much time had passed. Upon inform ation and belief,

this comm ent dem onstrates Defendant Stewar d-Bowden’s awareness o f DOC and/or GRVC

        3
          Upon inform ation and belief, Defendant Vi ctor was responsible for monitoring and
supervising pantry and/or sanitation inmates. He abandoned his post, without ensuring that these
inmates were contained as requ ired by DOC and/or GRVC direc tives, policies and procedures,
strictly for the purpose of participating in the brutal attack on Mr. Alli.
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official policy, procedure and directives with respect to th e presence of officers in a n inmate’s

cells.

          54.   At approximately 10:49 pm, the Assaulting Officers began escorting Mr. Alli out

of his cell, leading him towards the GRVC mini-clinic.

          The Attack Resumes in the Mini-Clinic

          55.   GRVC maintains a m ain clinic and a m ini-clinic. Upon inform ation and belief

the main clinic is a 24/7 facility.

          56.   There are no cameras in the GRVC mini-clinic. Despite the many complaints by

inmates that officers frequently use this unm onitored space to physically and sexually assault

inmates, no steps hav e been taken to correct this major loophole in p rison security and inm ate

safety.

          57.   The m ini-clinic closes each day at or around 7:45 pm . Upon inform ation and

belief, the m ini-clinic is used primarily to pr ovide treatm ent to punitive segregation inm ates.

After hours, however, p unitive seg regation inm ates with m edical need s are to be taken to the

main clinic.

          58.   Given the tim e of night, around 10:49 pm , the mini-clinic was already closed at

the tim e the Assaulting Off icers app roached th e m ini-clinic with M r. Alli and th ere were no

doctors or n urses on site. According ly, the Assaulting Officers had no legitim ate non-punitive

penological interest in approaching or entering the mini-clinic at that time.4




          4
          Assaultin g Off icers’ re ports co llectively om it a ny ref erence to the m ini-clinic de spite
the fact that GRVC cam eras show Mr. Alli b eing taken towards the mini-clinic rather th an the
main clinic after leaving his cell.
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       59.     While Defendants Steward-Bowden and Di xon searched the c ontrol room for a

key to the locked m ini-clinic, Defendant Akhurst held Mr. Alli agains t the wall, twisting h is

wrists and fingers, and threatening him with more abuse.

       60.     Having failed to find a key for the m ini-clinic, Defendant Dixon used a utility

knife to pick the lock. Defendants Stewar d-Bowden, Arkhurst, Alceu s and Dixon entered the

mini-clinic. Defendant Victor left the scene and the attack continued.

       61.     Prison cam eras show that Mr. Alli was esco      rted from his cell shirtless and

handcuffed. He remained so throughout the attack.

       62.     In the m ini-clinic, as they had in P laintiff’s cell, Defendants Alceus, A rkhurst

and Dixon took turns striking Mr. Alli in th e ribs, stomach, back, head and face. Each time Mr.

Alli fell to the floor he was kicked, kneed and stomped until he was pulled back up to repeat the

same vicious cycle. During this time, Defendant Steward-Bowden encouraged these officers to

continue.

       63.     The attack continued for approxim ately ten minutes, at which point Defendants

Alceus and Victor put a DOC shirt over Mr. Alli’s head.

       64.     Before exiting the m ini-clinic, Defendant Stew ard-Bowden m ade contact with

Mr. Alli’s face using a sharp object she held    in her hands. The Injury to Inmate Report,

completed following the attack, records abrasions on both sides of Mr. Alli’s face.

       65.     The Assaulting Officers threatened to “kill” Mr. Alli if he reported the true cause

of his injuries to the examining doctor.




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        Mr. Alli was Denied
        Appropriate Medical Attention

        66.        The BOC’s Minim um Health Care Standa rds (“MHCS”) require th at inm ates

receive prompt m edical attention and explicitly prohibits delay, de nial and interference with an

inmate’s access to medical treatment.

        67.        Inmates in n eed of em ergency services are to be granted access to such s ervices

promptly. In addition, such serv ices are to be provided com petently and “at a level consistent

with legal requirements, accepted professional standards and sound pro fessional judgment and

practice.” See Exhibit A § 3-01(a).

        68.        The care M r. Alli received imm ediately after the Incid ent and in the severa l

weeks that followed fell grossly below this standard.

        69.        Upon arriving at the main clin ic, Mr. Alli waited approx imately one hour to

receive medical attention, during which time he was in extreme pain and discomfort.

        70.        When finally examined by the docto r on call, th e bulk of Mr. Alli’ s visible and

nonvisible injuries were not recorded on the Injury to Inmate Report.

        71.        In addition, despite being in extrem   e pain, the exam ining doctor failed to

prescribe pain m edications or schedule follow-up appointm ents to review the extent of Mr.

Alli’s injuries.

        72.        After the exam ination, Mr. Alli was forced    to walk barefoot with no aid or

assistance back to his cell.

        73.        Had Mr. Alli received a proper exam , treatment and follow-up care, as required

under the MHCS, the perm anent in juries he sustained w ould su rely have been—at the very

least—minimized.




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       The May 10, 2011 Infraction &
       Corresponding Cover-up

       74.     On May 10, 2011, the Assaulting         Officers in fracted Plain tiff for disciplin ary

offenses purportedly arising out of his conduct during the Assault (the “Infraction”).

       75.     This Infraction was th e first of a ser ies of events intended to cover-up the initial

wrongful act, namely the malicious Assault on Mr. Alli.

       76.     The Infraction, as required under DOC polic y, triggered an inve stigation. This

investigation was, however, laced with inefficiencies, bias and due process violations.

       77.     For instance, Defendant Steward-Bowd          en, who was the m       aster-mind and,

indisputably, a partic ipant in the Assault, a lso participated in the investigation of the Inciden t.

Her participation was strictly prohibited by DOC directives, policies and procedures given her

involvement in the Assault.

       78.     The investigation conducted by Defenda          nt Banks also fell short of DOC

directives, polic ies and procedur es, as well as constitutional princip les. Def endant Banks did

not initiate the investig ation within 24 hours of the alleged offenses, failed to investigate Mr.

Alli’s excessive force allegations, and failed to obtain statements from material witnesses.

       79.     Prior to the DOC-mandated Hearing held on May 13, 2011 (the “Hearing”),

Adjudication Captain Joseph Caputo failed to review the Infraction for due process violations

and failed to investigate and report Mr. Alli’s allegations of excessive force.

       80.     In fact, when Mr. Alli informed Defendant Caputo of the Assault in the mini-

clinic, the latter responded that it did not concern him.

       81.     Defendant Caputo similarly failed to review and/or facilitate the preservation of

video capturing the Assault and denied Mr. Alli the opportunity to call and examine witnesses




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during the Hearing, even where such witnesses would have offered relevant non-duplicative

evidence.5

       Defendants Demonstrated Deliberate Indifference
       to Mr. Alli’s Need for Medical Care

       82.     In the week s following the Ass ault, Mr . Alli was denied access to n ecessary

medical treatment, causing him to suffer permanent physical damage as a result of his injuries.

       83.     During his discip linary segregation, Mr. Alli made daily re quests to be seen by

sick-call personnel.

       84.     Mr. Alli m ade these requests to pa       sser-by m edical s taff and Def endant

Assaulting Officers and Unifor med and Supervisor y Officers, all of whom repeatedly ignored

Mr. Alli’s requests.

       85.     For instance, Mr. Alli m    ade daily re quests for medical care to D efendants

Beharri, Bunton, Dixon, Phillips,     Rohr and Velez, each of     whom conducted daily tours,

approximately fifteen per day, of Mr. Alli’s housing area.

       86.     During this time, Mr. Alli was on medication for back pain and approved for care

by a physical therapy. These Defendants repeat       edly denied Mr. Alli’s requests to see his

physical th erapist in violation B   OC Health Care Min imum Standards and constitu          tional

principles.




       5
        Specifically, Kiaza Loccenitt, then -GRVC in mate, submitted relev ant, non-duplicative
evidence in an Article 7 8 proceeding challenging these due process viola tions and the resulting
100 day punitiv e confinement. There, Loccenitt decl ared under penalty of perjury, that he had
witnessed the brutal beating of Mr. Alli but was prevented from offering a voluntary statement.
The Supreme Court of New York ordered that the Infraction be expunged and the 100 days
credited to Mr. Alli on September 28, 2011.

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        87.     Mr. Alli reported these denials to Defendants Steward-Bowden and Dunbar, both

housing area captains of Mr. Alli ’s housing area. These Defe ndants are responsible for the

discipline, supervision, monitoring and training of the housing area officers in their charge.

        88.     Defendants Steward-Bowden and Dunbar neither ordered housing area officers to

permit Mr. Alli to obta in medical attention nor di d they facilitate Mr. Alli’s a ccess to m edical

care.

        89.     Upon inform ation and belief, Defendants John Does 1 through 6 canvased

GRVC during this period and fail      ed to docum ent, report, investigate, rem edy or otherwise

intervene in protection of Plaintiff’s constitutional rights.

        90.     The joint and conspiratorial action of     Defendants Steward-Bowden, Dunbar,

Behari, Bunton, Dixon, Phillips, Rohr and Vel          ez constituted deliberate indifference to a

substantial risk posed to Mr. Alli’s health and safety and fell short of DOC and BOC directives,

policies and standards governing inmates’ access to health care.

        Mr. Alli Reports Medical Needs
        to Policy-making Defendants6

        91.     Unable to obtain ass istance from GRVC off icers and supervisory staf f, Mr. Alli

began reporting these deprivations to the Policy-making Defendants named herein.

        92.     In a letter dated May 18, 2011, Mr. Alli        complained to Defendants Schriro,

Mulvey and /or Agro 7 and Simmons, inform ing them that he had been assaulted in his cell at

GRVC and that he was not “ receiving medical care, despite . . . numerous complaints of severe




        6
          To the extent certain letters are undated or without addressee information, we have
relied in good faith on the affidavits of service produced in discovery to determine when and to
whom such letters were sent.
        7
          To the extent Defendant Mulvey w as no longer in the position of GRVC W arden, the
letter would have been forwarded to Defendant Agro.
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pain. I am in imminent danger and receiving numerous death threats from officers and

capt[a]ins.”

       93.     On May 23, 2011, Mr. Alli received a boiler-plate res ponse from the Director of

Constituent Services, an em ployee within the office of Def endant Schriro, adv ising him in

general terms that “the issues described in [his] letter are currently being investigated.”

       94.     On June 1,    2011, M r. Alli wrote th      e Central Office Review Committee

referencing prior grievances, describing his injuries and noting that he was being “ deprived [of]

medical car e and forced to live un der fou l co nditions. I also am s truck around [ by] thes e

officers who[] daily harass me. Please help, adhere and investigate my complaint.”

       95.     On June 2, 2011, a L     egal Aid staff atto rney wrote to Defendants Ar mstead,

Finkle, F inkelman, Potler and W olf on Mr. Alli’s behalf. The em ail n oted that Mr. Alli was

being denied “ pain medication and other basic necessities      . . . while . . . detained in punitive

segregation” and requested that Mr. Alli be “     seen by medical staff as soon as possible       ” and

given “ appropriate and necessa ry medical treatment .” (r eferred to h ereinafter as the “W ilker

Email”).

       96.     On June 6, 2011, a Legal Aid Society inte      rn wrote Defendant Finkle, advising

him that Alli had “ suffered ocular damage to his left eye, bleeding from his right ear, soft tissue

damage to his back, w hich has ca used persistent back pain, extensi ve bruising to his ribs, and

abrasions and contusions on his face and head.”

       97.     On the same day, a Legal Aid Society in tern wrote Defendants Arm stead, Potler

and Wolf, advising them that Mr. Alli had “ suffered a severe traumatic injury to his ear, among

other injuries, during a use of force incident at GRVC on May 5 and that he has not been seen by




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medical s taff with r espect to that in jury.” Sawy er requ ested that “ Alli’s ear [be ] evaluated as

soon as possible” and that he “receive whatever treatment he needs.”

       98.     On June 21, 2011, Mr. Alli receiv ed a respons e from an I GRP Investigator in

Defendant-Schriro’s office.

       99.     The inves tigator, a su bordinate o f Def endant Schriro, a dvised M r. Alli that

although the comm issioner was in receip t of Mr. Alli’s complaint, the com plaint would not be

pursued given that Mr. Alli had not submitted the complaint internally.

       100.    This advice was m isguided given that DOC Directive N o. 3376 establishes that

Inmate alle gations of p hysical as sault are not subject to the Inm ate Grievance and Request

program.

       101.    This m isinformation is a clear exam        ple of the City and Policy-m         aking

Defendants’ failure to tr ain DOC off icers, staff and em ployees. Such failures m ake it possible

for subordinate officers to violate and cover-u p their unlaw ful conduct with im punity. This,

amongst other conduct by all Defendants, violated Mr. Alli’s constitutional rights.

       102.    When Mr. Alli was fin ally ex amined and diag nosed, he was nonetheless denied

follow-up care, treatment and medication which further aggravated his injuries.

       103.    Mr. Alli’s medical records confirm that the vision in his left eye has been severely

compromised as a result of the Assault.      Med ical doctors who have ex amined Mr. Alli have

detected trauma, iridodialysis, cataract, fluid and scarring in Mr. Alli’s left eye.

       104.    When finally exam ined by a specialis t, Mr. A lli was prescribed eye drops and

pain m edications, which prison officials and prison doctors denied him.        Mr. Alli, to da te, is

awaiting surgery for his eye.




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       105.       These records also conf irm that Mr. Alli has suffered hearing loss in h is left ear

and requires use of a hearing aid.

       106.       Mr. Alli wa s f itted f or a hearing a id but has not yet re ceived one. A m edical

report dated February 2, 2012 noted that Mr. Alli had been “ waiting for a hearing aid for 4-5

months.” Mr. Alli has not received a hearing aid to date.

       The Confinement Conditions imposed on Mr. Alli
       Were Punitive and Contrary to Constitutional Mandates
       107.       In the week s following the Assault, Mr. Alli was forced to endure h      arsh and

humiliating conditions antith etical to basic st andards of hum an dignity. These condition          s

violated his Constitutional rights, Ne w York law, BOC Minimum Standards and DOC polic ies

and directives.

       108.       Defendants-Assaulting Off icers an d Def endants-Uniformed and Sup ervisory

Officers conspired to create these conditions for no legitimate non-punitive penological purpose.

       109.       Upon infor mation and belief, these Defendants intended to punish Mr. Alli for

filing prior grievances and to prevent Mr. Alli from filing grievances regarding the conditions of

his confinement at that time.

       110.       During this period, Mr. Alli was placed in a cell covered in feces. Despite m any

requests, Mr. Alli was not given cleaning supp lies, nor were clean ing personnel in structed to

sterilize his cell. These deprivations are contrary to BOC Minimum Standards.

       111.       Defendant Victor was the sa nitation officer during the relevant period. It was

directly within his purv iew to instruct maintenance personnel to sanitize or otherwise clean Mr.

Alli’s cell. Defendant Victor h ad no leg itimate non-punitive penological purpose in failing to

ensure compliance with BOC Minimum Standards in this regard.




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          112.   Mr. Alli’s cell was also extrem ely cold during this period because of the high

levels of air condition    ing in MA UII.       Defendants-Assaulting Officers and Defendants-

Uniformed and Supervisory Officers knew that Mr. Alli did not have warm clothing in his cell.

          113.   These officers observed that the only clothing Mr. Alli ha d in his cell at that time

was a t-shirt and und erwear. Thes e officers m aliciously, and with de liberate indifference,

refused to provide Mr. Alli with blankets, sheets or warm clothing.

          114.   Defendant Victor was the linen exchange officer dur ing the relevant period. It

was thus directly within his pu rview to provide Mr. A lli with clean and appropriate clothing.

Defendant Victor had no legitim       ate non-punitive penological purpose in failing to ensure

compliance with BOC Minimum Standards in this regard.

          115.   As a resu lt, Mr. Alli was forced to s leep under a naked m attress to keep warm .

These deprivations are contrary to BOC Minimum Standards.

          116.   A working toilet and sink in each cell is mandated by BOC Minimum Standards.

Upon information and belief, Defendant Rohr inten tionally turned off water in Mr. Alli’s cell.

As a resu lt, Mr. Alli w as f orced to eith er ho ld his bowel move ments or use a non-functional

toilet.

          117.   When Mr. Alli repo rted these m atters to Def endants-Assaulting Of ficers an d

Defendants-Uniformed and Supervisory Officers, he was told to “dea l with it,” to “have f un

smelling his own feces,” and that these condition s were his punishment for acting like a “dick,”

for “snitch[ing]” and for writing complaints.

          118.   Defendants’ comm ents in this regard illu strate the punitive, ev il and retaliatory

motive behind their despicable conduct.




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        119.    Mr. Alli was also denied phone usage. Upon information and belief, Defendants

did so for the purpose of preventing Mr. Alli from calling the Department of Investigation or his

attorney. Indeed, during this period, Defenda nts Steward-Bowden, Behari, Dixon, Phillips and

Velez denied Mr. Alli’s requests to call his counsel.

        120.    During this tim e, Mr. Alli com        plained of these conditions to Defendants

Steward-Bowden, Beha ri, Bunton, Dixon, Dunbar,           Phillips, Rohr, and Velez who exhibited

deliberate indifference and, in fact, laughed and t eased Mr. Alli du ring their daily tours of th e

housing area, and encouraged inmates to do the same.

        121.    Mr. Alli was prohibited from showering duri ng this p eriod, a res triction that is

inconsistent with BOC Minimum Standards.

        122.    Upon inform ation and belief, Defendants John Does 1 through 6 canvased

GRVC during this period and fail      ed to docum ent, report, investigate, rem edy or otherwise

intervene in protection of Plaintiff’s constitutional rights.

        123.    Defendants-Assaulting Off icers an d Def endants-Uniformed and Sup ervisory

Officers had no leg itimate non-punitiv e pen ological purpose for su bjecting M r. Alli to these

unconscionable conditions.

        Mr. Alli Reports Confinement Conditions
        to Policy-making Defendants

        124.    On May 18, 2011, Mr. Alli wrote Defendant s Mulvey and /or Agro, Schriro and

Simmons to provide a detailed report of the conditions to which he was being subjected.

        125.    The letter s tates, in p art, “I was plac ed in a cell with feces on the walls, with no

working toilet or sink due to officers turning of [f] my water, no personal property or sheets &

blankets. . . . No cleaning materials were prov     ided to clea n feces even after complaining to

officers.” The letter also noted that Mr. Alli was denied phone usage during this period.

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       126.    In a letter dated May 19, 2011 whi ch, upon inform ation and belief, was sent to

Defendants Mulvey, Schriro and Simmons, Mr. Alli wrote about being denied sheets, a blanket,

phone usage, and the ability to use the toilet and sink.

       127.    In addition, Mr. Alli stated th at he had inf ormed Def endants Behari, Steward-

Bowden, Di xon, Rohr, Velez and other DOC personne l, all of whom dem onstrated deliberate

indifference to the substantial risk posed to Mr. Alli’s health and safety by these conditions.

       128.    On May 26, 2011, Mr.       Alli wrote a com plaint to the GR VC W arden. Upon

information and belief, Defendant Agro had,       by that tim e, assum ed the position of GRVC

Warden. The letter stated:

               I have wrote many grievances and have received no response. [T]his is an appeal
               for the grievances I filed on May 12, 2011. I also have wrote you ample times for
               the same incident on May 5, 2011, where I was assaulted in my cell and the mini-
               clinic of GRVC. I’m being force [d] to undergo unsanitary conditio n[s] and
               being denied medical care. Please help.

       129.    The W ilker Em ail, discussed at paragraph 95,            supra, further infor med

Defendants Finkle, Finkelman, Armstead and Wolf that Mr. Alli was being denied “ample food”

and requested that these Defendants and the other recipients ensure that Mr. Alli “ receive[] all

meals each day and any other mandated services.”

       130.    On June 8, 2011, Mr. Alli received a s       econd boiler-plate response from the

Director of Constituent Services, an employee within the o ffice of Defendant Sch riro, advising

him in general terms that “the issues described in [his] letter are currently being investigated.”

       131.    Mr. Alli wrote Defendant Schriro again on June 12, 2011 stating:

       I have not received a grievance log number [n]or ha[ve] any of my appeal steps . . . been
       answer[ed]. Please help resolve this matte r and remove me from these cruel conditions,
       . . . discipline the officers w hom participated in these acti ons and the grievance staff and
       committee for not answering my grievances including but not limited to my May 12, 2011
       grievances. Also keep me away from the following staff because they were trying to harm



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       me; Officer Dixon, Arkhurst, Victor, Alceu       s, Rohr, Phillips, Bunto   n and Captains
       Steward-Bowden, Beharri and Dunbar.

       132.    This letter was a cry for help and put Defendant Schriro on notice that Mr. Alli’s

health and safety were substantially at risk.

       Defendants’ Conduct Egregiously
       Violated DOC and BOC Policies & Directives

               A.      Use of Force

       133.    The Department has implemented Use of Force Directive No. 5006R ( attached as

“Exhibit A” hereto). Under this Dire ctive, force is to be used only after all reasonable efforts to

resolve a situation have failed.

       134.    Correction officers and DOC staff are permitted to use force commensurate to the

level of treat posed by the inmate at that time.

       135.    This directive prohibits use of force as a m eans to punish, when an inm ate poses

no threat, or when an inmate is not resisting staff.

       136.    This directive m andates that “blows s hould not be struck if control holds,

grasping” or other less harmful methods “would be adequate to restrain the inmate.”

               B.      Health Care Minimum Standards

       137.    The BOC has established m inimum standa rds pertaining to inm ate access to

medical care. Medical care within DOC facilities is to be maintained “at a level consistent with

legal requ irements, accepted professional stan dards and sound professional jud        gment and

practice.” (attached as “Exhibit B” hereto)

       138.    These stand ards con template (i) the provi sion of prom pt me dical tr eatment and

follow-up care as well as emergency services; (ii) the regular training and development of health




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care personnel and correctional sta ff as appropria te to th eir ro le in the health c are delive ry

system; and (iii) an ongoing review and assessment of the quality of care provided to inmates.

       139.    In addition, these standards expressly pr ohibit DOC staff, officers and personnel

from delaying, denying or otherwise interfering w ith an in mate’s access to m edical atten tion.

DOC officers with knowledge of an inm       ate’s n eed for medical care are to report such need

promptly.

       140.    In addition, all decisions regarding m edical atten tion are to be m ade by health

care personnel only and sick calls are to be available to inmates every day within 24 hours of a

request for care.

       141.    To the extent appropriate treatment for an inmate’s injuries is not available within

the correctional facility, these standards mandate that specialty services be provided to inmates in

the time frames specified by referring medical personnel.

               C.      Minimum Standards Governing Conditions of Confinement

       142.    The BOC has established Minimum Standards pertaining to inmate conditions of

confinement that apply to all inmates. (attached as “Exhibit C” hereto) These standards prohibit

the imposition of restrictions on inmates that do not serve a legitimate non-punitive penological

purpose.

       143.    These standards afford inmates the right to shower daily, and require that all

inmates be given personal health items, including soap, toothbrushes and powder (a substitute for

toothpaste), towels and toilet paper.

       144.    These standards mandate that inmates be given adequate bedding, which includes

one pillow and pillow case, two sheets, one mattress, a mattress cover and “sufficient blankets to

provide comfort and warmth.” (emphasis added)



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       145.    These standards mandate the “regular cleaning of all housing areas including

cells, tiers, dayrooms, and windows” and contemplate that inmates are supplied with brooms

and mops, appropriate cleaning substances and disinfectants, and other materials sufficient to

properly clean and maintain housing areas. (emphasis added)

       146.    These standards govern inmate clothing and require that inmates be provided

with clean clothes every four days. All named-Defendants were required to adhere to and/or

ensure compliance with these standards.

                          EXHAUSTION OF ADMINISTRATIVE REMEDIES

       147.    Pursuant to Directive N o. 3376, Inm ate allegations of physical assault are      not

subject to the Inm ate Grievance and Request program. Nonetheless, Mr. Alli has exhausted

administrative remedies with respect to all claims raised herein.

       148.    On May 27, 2011, Plaintiff se rved a grievance on the GRVC grievance clerk in

which he complained of all of the conduct at issue herein. The letter read, in pertinent part:

       On May 5th I was assaulted by officers. On May 8th, I was placed in a cell with feces on
       the walls, no working sink or toilet . . . no personal property, phone usage or blankets.
       Despite numerous complaints on all the above, no changes were made.

       149.    On June 1, 2011, Mr. Alli m ailed a lett er to the Cen        tral Office Review

Committee which noted, in pertinent part, “ I was assaulted on May 5, 2011 in my cell and the

mini clinic resulting [in] multiple injuries. I have been deprived medical care and forced to live

under foul conditions.”

       150.    On June 28, 2011, Mr. Alli wrote a letter     to th e GRVC Gr ievance Superviso r

which advised that as a result of the Assault, Mr. Alli was experiencing “pains in [his] head and

eyes,” reduced vision, deafness and severe back pains.




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       151.    In addition, m ultiple co mplaints do cumenting the conduct at is sue herein were

made to Defendants Agro, Arm stead, Finkle, Finkelman, Mulvey, Schriro, Simmons and W olf,

both by Mr. Alli and the Legal Aid Society acting on his behalf.

       152.    In any event, Plaintiff’s efforts to strictly comply with grievance procedures were

inhibited by the conduct of DOC staff. Despit e num erous requests for the relevant grievance

directives, DOC staff refused to provide them to Mr. Alli.

       153.    Upon infor mation and belief, DOC staf        f on m ore than one occasion have

confiscated copies of the grievance directives found in the possession of inmates.

       154.    Due to the com plexity of the griev ance process, Mr. Alli r equired assistance to

fully understand the process required for adm inistrative exhaustion. However, DOC staff were

unable and/or unwilling to explain the necessary steps of exhaustion.

       155.    In addition, the MAUII area in which Pl aintiff was confined was not equipped

with a grievance box, nor did grievance officers regularly canvas the MAU II unit. Thus, any

failure by Mr. Alli to exhaust administrative remedies should be excused.

                                     CLAIMS FOR RELIEF

       FIRST CLAIM: CLAIM FOR FOURTEENTH AMENDMENT VIOLATIONS
         (Against Assaulting Officers for Use of Excessive Force Pursuant to § 1983)

       156.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       157.    Defendants Steward-B owden, Alceus, Arkhurst, Dixon and Victor, by their

conduct, willfully violated Mr. Al li’s clearly established rights by intentionally and m aliciously

subjecting him to excessive force for no legitimate non-punitive penological purpose.




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       158.     These Defendants acted in clear viola       tion of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to a   good faith or qualified

immunity defense.

       159.     As a proxim ate result of such conduct, Mr. A lli suffered severe and perm anent

injuries, including hearing loss, reduced vision, other physical injuries and emotional harm.

       160.     Defendants’ conduct demonstrated deliberat e indifference to the substantial risk

such excessive force posed to Mr. Alli’s hea lth and safety. Mr. Alli is e ntitled to da mages for

this conduct.

      SECOND CLAIM: CLAIM FOR FOURTEENTH AMENDMENT VIOLATIONS
  (Against Defendants-Assaulting Officers and Defendants Behari, Bunton, Dunbar, Phillips,
Rohr, Velez, John Does 1 through 6 and Correctional Health Services/Prison Health Services for
                 Deliberate Indifference to Medical Needs Pursuant to § 1983)

       161.     Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       162.     Defendants Steward-Bowden, Alceus, Ar khurst, Dixon, and Victor intentionally

delayed, po stponed and /or in terfered with Mr. A lli’s need for m edical atten tion following th e

Assault.

       163.     These Assaulting Officers then co      nspired with Defendants Behari, Bunton,

Dunbar, Phillips, Rohr and Velez to prevent Mr. Alli from receiving necessary, appropriate and

prompt medical care.

       164.     Despite Mr. Alli’s numerous complaints to each of these officers and Joh n Does

1-6, these Defendants delayed, denied, postponed, or otherwise interfered with Mr. Alli’s access

to medical care for no legitimate non-punitive penological purpose.




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          165.   These Defendants acted in clear viola      tion of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to a   good faith or qualified

immunity defense.

          166.   By their conduct, these Defendants dem onstrated deliberate indifference to the

substantial risk posed to Mr. Alli’s health and safety as a result of his injuries. As a consequence

thereof, Mr. Alli sustained permanent loss of hearing, vision and other bodily injuries as well as

emotional harm.

          167.   Mr. Alli is entitled to damages for this conduct.

THIRD CLAIM: CLAIM FOR RELIEF FOURTEENTH AMENDMENT VIOLATIONS
                     (Against Defendants Banks and Caputo
                for Violation of Due Process Pursuant to § 1983)

          168.   Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

          169.   Pre-trial detainees are entitled to certain procedural protections whenever further

loss of liberty can result from disciplinary action.

          170.   Under the Fourteenth Amendment, an inmate is entitled to (i) advanced notice of

the charges against him; (ii) a hearing affording him a reasonable opportunity to call witnesses

and present documentary evidence; and (iii) a fair and impartial hearing officer, amongst other

things.

          171.   This standard is supplemented by DOC Directive 6500-R, which establishes the

procedure for processing pre-hearing detention and inmate disciplinary infractions.

          172.   Defendant Caputo violated DOC due process procedures as well as Mr. Alli’s

constitutional rights by, amongst other things:




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               (i)     failing to dismiss the Infraction despite the fact that Defendant Steward-
                       Bowden, who participated in the Assault, was also involved in the
                       investigation;

               (ii)    failing to dismiss the Infraction on due process grounds given that the
                       investigation was not initiated within 24 hours of the Incident;

               (iii)   failing to call witnesses with knowledge of the Incident;

               (iv)    failing to credit Mr. Alli’s account of the Incident;

               (v)     failing to take, review and preserve crucial evidence, including witness
                       accounts, videotape, medical records and physical evidence;

               (vi)    turning a blind eye to falsified reports submitted by Assaulting Officers;

               (vii)   turning a blind eye to inconsistencies in material facts stated in the
                       investigative and officers’ reports;

               (viii) relying on facts outside of the evidentiary record;

               (ix)    confining Plaintiff to 100 days of disciplinary segregation;

               (x)     failing to credit said days upon the outcome of the Article 78 proceeding;
                       and

               (xi)    failing to consider Plaintiff’s mental health status during the hearing.

       173.    Defendant Banks violated DOC due process Directives and Mr. Alli’s

constitutional rights by, amongst other things, (i) failing to interview witnesses with knowledge

of the Incident; (ii) failing to commence an investigation within 24 hours of the Incident; and (iii)

conducting a biased investigation.

       174.    Defendants Banks and Caputo acted in clea       r violation of well-settled law, of

which a reasonable person should have been awar        e, and are not entitled to a good faith or

qualified immunity defense.

       175.    These deficiencies led to Mr. Alli’s disciplinary confinement and loss of liberty

without due process of law in violation of Mr. Alli’s clearly established rights.


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       176.    Mr. Alli is entitled to damages for this conduct.

        FOURTH CLAIM: CLAIM FOR RELIEF FOURTEENTH AMENDMENT
                                     VIOLATIONS
       (Against Policy-making Defendants for Due Process Violations Pursuant to § 1983)

       177.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       178.    Policy-making Defendants have, for some time, been on actual notice of the

inadequacy of hearings offered to inmates within the GRVC and other DOC facilities.

       179.    Former and current lawsuits made plain that Hearing and Investigating Officers

frequently fail to credit inmate accounts, fail to take, review and preserve crucial evidence,

including witness accounts, videotapes, medical records and physical evidence.

       180.    Policy-making Defendants’ failure to take measures to correct these behaviors

created an environment where subordinates were and continue to be able to commit due process

and other violations with impunity.

       181.    Such failure to act constituted deliberate indifference to the rampant due process

violations within DOC facilities, including GRVC, in connection with the administration of

inmate infractions and disciplinary procedures.

       182.    In addition, Policy-making Defendants affirmed Defendant Caputo’s Hearing

determination by failing to take action even after the Infraction was expunged by the New York

Supreme Court.

       183.    In so doing, these Defendants directly participated in the liberty deprivations

imposed upon Mr. Alli and violated Mr. Alli’s clearly established rights.




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       184.    Policy-making Defendants acted in clear violation of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to   a good faith defense or

qualified immunity defense.

       185.    Mr. Alli is entitled to damages for this conduct.

          FIFTH CLAIM: CLAIM FOR FOURTEENTH AMENDMENT VIOLATIONS
           (Against Defendants Assaulting Officers, Defendants Uniformed and Supervisory
Officers, Defendants Agro, Armstead, Finkle, Finkelman, Mulvey, Potler, Schriro, Simmons and
  Wolf, and Defendants John Does 1 through 6 for Constitutionally Inadequate Conditions of
                              Confinement Pursuant to § 1983)

       186.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       187.    The conditions of Plaintiff’s confinement following the Assault and throughout

the 100 day disciplinary confinement was objectively and subjectively serious and an affront to

the basic dignities afforded to inmates under the Constitution and New York law.

       188.    Following the Assault and throughout the disciplinary period, Mr. Alli was

deprived of adequate food, clothing, medical care, a working toilet and sink; he was forced to

hold his feces or use a non-working toilet; he was deprived of cleaning items and personal

property mandated by BOC Minimum Standards; and forced to occupy a cell covered in feces.

       189.    Assaulting Officers conspired with Defendants Uniformed and Supervisory

Officers to impose these conditions in an attempt to punish Mr. Alli for previous grievances and

what they perceived as prior misbehavior.

       190.    Defendants John Does 1 through 6 were responsible for regularly canvasing all

DOC facilities during this time period, including GRVC and MAUII and were required, but

failed to, record and investigate Mr. Alli’s complaints regarding the heinous conditions to which

he was being subjected.


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        191.     In addition, Defendants Agro, Armstead, Finkle, Finkelman, Mulvey, Potler,

Schriro, Simmons and Wolf were aware of the conditions imposed on Mr. Alli and failed to take

corrective action.

        192.     The multiple complaints made by Mr. Alli to Defendants Agro, Armstead, Finkle,

Finkelman, Mulvey, Schriro, Simmons and Wolf provided sufficient information from which to

draw an inference that Mr. Alli’s health and safety were substantially at risk as a result of these

conditions and Mr. Alli’s clearly established rights.

        193.     These Defendants acted in clear viola      tion of well-settled law, of which a

reasonable person should have been aware, and t hus are not entitled to a good faith defense or

qualified immunity defense.

        194.     Mr. Alli is entitled to damages for this conduct.

              SIXTH CLAIM: CLAIM FOR FIRST & FOURTEENTH AMENDMENT
                                           VIOLATIONS
            (Against Assaulting Officers and Defendants Uniformed and Supervisory Officers for
                              Unlawful Retaliation Pursuant to § 1983)

        195.     Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

        196.     Plaintiff’s First Amendment right to complain and to file grievances was chilled

by the conduct described herein.

        197.     As demonstrated by their comments during the attack, Assaulting Officers were

motivated in part by retaliation against Mr. Alli for reporting the prior misconduct of DOC

officers.

        198.     Defendants Behari, Bunton, Dunbar, Phillips, Rohr and Velez thereafter caused

further First Amendment deprivations by preventing Mr. Alli from making calls to family




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members, his attorney and investigative agencies to report the heinous conditions he was forced

to endure.

        199.   In addition, during Mr. Alli’s disciplinary segregation, DOC staff and employees

restricted Mr. Alli’s access to grievance procedures.

        200.   The aforementioned conduct would prevent a person of ordinary firmness, and did

prevent Mr. Alli, from exercising clearly established rights guaranteed by the First Amendment.

        201.   These Defendants acted in clear viola        tion of well-settled law, of which a

reasonable person should have been aware, an        d are not entitled to   a good faith defense or

qualified immunity defense.

        202.   Mr. Alli is entitled to damages for this conduct.

        SEVENTH CLAIM: CLAIM FOR FOURTEENTH AMENDMENT VIOLATIONS
              (Municipal & Supervisory Liability Pursuant to § 1983 for All Claims)

        203.   Plaintiff repeats, re-alleges and incorpor ates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

        204.   Defendants Agro, Arm stead, Davis, Fi nkle, Finkelm an, Hourihane, Lem on,

Mulvey, Potler, Regan, Schriro, Scott, Simmons and Wolf are municipal agents “whose acts may

be fairly said to be those of the municipality.”

        205.   These Def endants f ailed to inte rvene to protec t Plain tiff’s constitutio nal righ ts

from infringem ent, were grossly negligen t in supervisin g subordinates who committed the

wrongful acts, and/or aided and ab etted and/or conspired to depriv e, participated in depriving,

and/or did deprive Plain tiff of certain constitutionally prot ected rights including, but not lim ited

to:

               (i)     the right not to be subjected to excessive force;




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               (ii)    the right to a fair inve stigation and non-biased disciplinary hearing in
                       connection with disciplinary infractions and offenses;
               (iii)   the right to conditions of confinem ent comm ensurate to BO C Minim um
                       Standards and the United States Constitution;

               (iv)    the righ t to m edical care commensurate to BOC Health Care Min       imum
                       Standards and the United States Constitution; and

               (v)     the right to com plain about and/or grieve all m atters involving the
                       misconduct of DOC uniformed officers and officials.

       206.    The City and Policy-m aking Defendants knew or should have known that their

employees, agents, and subordinates had the propensity to engage in the illegal and wrongful acts

described herein.

       207.    Indeed, upon inform ation and belief,      Defendants Arkhurst, Behari, Bunton,

Dixon, Dunbar, Philips, Steward-Bowden, Vel          ez and Victor, have al l been implicated in

excessive force incidents involving inmates housed in GRVC or other DOC facilities.

       208.    In addition, the City and Policy-making Defendants have been aware for some

time (from lawsuits, notices of claim, and complaints from inmates, their family members,

friends, press reports and internal investigations) that their employees, subordinates and agents

routinely engage in incidents of excessive force followed by concerted efforts to cover up

wrongdoing.

       209.    The City and Supervisory Defendants created, fostered, perpetuated and promoted

unconstitutional customs, practices and policies by, amongst other things:

               (i)     failing to protect and supervise deta inees within the care, custody and
                       control of the DOC;
               (ii)    failing to equip unm onitored areas, su ch as th e GRVC m ini-clinic with
                       cameras and /or o ther devices to red uce the incidence of physical assault
                       on inmates;

               (iii)   failing to implem ent a nd develop polic ies and procedures sufficient to
                       safeguard the health, s afety and welf are of detain ees within th e ca re
                       custody and control of the DOC;

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                 (iv)    failing to e nforce exis ting ru les d esigned to sa feguard the health, saf ety
                         and welfare of detainees within the care, custody and control of the DOC;

                 (v)     failing to discipline and/or prosecu te correction officers for em ploying
                         excessive force against detainees in their care, custody and control or
                         engaging in other misconduct under color of state law;

                 (vi)    failing to train and instruct subordina te em ployees regarding the inm ate
                         grievance p rocess and the pro tections guaranteed to all inm ates a nd
                         detainees subject to disciplinary infractions and/or hearings;

                 (vii)   failing to monitor the conduct of s ubordinate em ployees to determine
                         whether DOC directives and official polices were bei ng co mplied with ;
                         and

                 (viii) failing to investigate and penetrate the code of silence amongst officers
                        participating in wrongful conduct.

          210.   These Defendants acted in clear viola       tion of well-settled law, of which a

reasonable person should have been aware, an         d are not entitled to   a good faith defense or

qualified immunity defense.

          211.   These failures facilitated, promoted and exacerbated the unconstitutional practices

which proximately caused the injuries alleged herein and violated Plaintiff’s clearly established

rights.

          212.   Plaintiff is entitled to damages for this conduct.

                   EIGHTH CLAIM: CLAIM FOR ASSAULT & BATTERY
                              (Against Assaulting Officers)

          213.   Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

          214.   At all times alleged herein, Defendants Steward-Bowden, Alceus, Arkhurst,

Dixon and Victor were acting within the scope of their employment and under color of state law.




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       215.    Upon approaching and entering Mr. Alli’s cell, Defendants Steward-Bowden,

Alceus, Arkhurst, Dixon and Victor placed Mr. Alli in apprehension of immediate harm and/or

offensive touching.

       216.    These Defendants thereafter engaged in and subjected Plaintiff to immediate

harmful and/or offensive touching, giving rise to an unlawful battery.

       217.    These Defendants acted in clear viola        tion of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to   a good faith defense or

qualified immunity defense.

       218.    As a proximate cause of such conduct, Mr. Alli sustained permanent loss of

vision, hearing, other bodily injuries and emotional harm.

       219.    This conduct violated Mr. Alli’s clearly established rights and he is entitled to

damages for such conduct.

                        NINTH CLAIM: CLAIM FOR NEGLIGENCE
                                 (Against all Defendants)

       220.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       221.    At all times alleged herein, Defendants acted under color of state law in their

capacity of DOC officers, employees, staff, and/or agents and were required to act with due care

and in conformity with DOC standards and directives and with the United States Constitution.

       222.    Assaulting Officers as well as Defendants Behari, Bunton, Dunbar, Phillips, Rohr

and Velez breached this duty by causing Mr. Alli’s bodily injuries and/or deliberately denying,

delaying or otherwise interfering with his access to appropriate medical care.

       223.    Policy-making Defendants Agro, Armstead, Davis, Finkle, Finkelman,

Hourihane, Lemon, Mulvey, Potler, Regan, Schriro, Simmons and Wolf breached this duty by

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failing to monitor, supervise, train, remove and discipline subordinate officers who were

predisposed to committing the acts complained of herein.

       224.    These Defendants acted in clear viola        tion of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to   a good faith defense or

qualified immunity defense.

       225.    The negligence of these Defendants was the proximate cause of the injuries

sustained by Mr. Alli and violated his clearly established rights.

       226.    Plaintiff is entitled to damages for this conduct.

         TENTH CLAIM: CLAIM FOR NEGLIGENT HIRING AND SUPERVISION
                  (Against Policy-making Defendants and the City)

       227.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       228.    At all times alleged herein, Defendants acted under color of state law in their

capacity of DOC high-ranking officials and were required to act with due care in the hiring,

monitoring, appointment, training and supervision of all DOC personnel, including the

defendants referenced herein.

       229.     The City and Policy-making Defendants failed to exercise due care in the hiring,

monitoring, appointment, training and supervision of the employees within their charge,

including Defendants Assaulting Officers and Defendants-Uniformed and Supervisory Officers.

       230.    The City and Policy-making Defendants knew or should have known that

Defendants Steward-Bowden, Alceus, Arkhurst, Behari, Dixon, Dunbar, Phillips, Velez and

Victor were unfit to serve their respective roles and had a propensity to engage in violent,

unprovoked conduct against inmates and detainees.



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       231.    The negligence of Defendant City and Policy-making Defendants proximately

caused Plaintiff’s injuries and violated Mr. Alli’s clearly established rights.

       232.    These Defendants acted in clear viola        tion of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to   a good faith defense or

qualified immunity defense.

       233.    Plaintiff is entitled to damages for this conduct.

                    ELEVENTH CLAIM: CLAIM FOR CONSPIRACY
      (Against Defendants Assaulting Officers, Defendants Banks, Behari, Bunton, Caputo,
                              Dunbar, Phillips, Rohr and Velez)

       234.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       235.    At all times alleged herein, Defendants acted under color of state law in their

capacity of DOC officers, employees, staff, and/or agents.

       236.    Defendants Steward-Bowden, Alceus, Arkhurst, Banks, Behari, Bunton, Caputo,

Dixon, Dunbar, Phillips, Rohr, Velez and Victor made an agreement to retaliate against Mr. Alli

as punishment for filing grievances, complaining about officer misconduct and misbehavior

during Steward-Bowden’s tour.

       237.    In furtherance of said agreement, these Defendants assaulted Mr. Alli, conducted

a biased investigation and administrative hearing, denied Mr. Alli appropriate health care, and

subjected him to heinous conditions of confinement.

       238.    These Defendants acted in clear viola        tion of well-settled law, of which a

reasonable person should have been aware, an       d are not entitled to   a good faith defense or

qualified immunity defense.




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       239.    These actions proximately caused Mr. Alli’s injuries and violated his clearly

established rights.

       240.    Mr. Alli is entitled to damages for this conduct.

               TWELFTH CLAIM: CLAIM FOR AIDING & ABETTING
          (Against Defendants Banks, Caputo and Uniformed & Supervisory Officers)

       241.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       242.    At all times alleged herein, Defendants acted under color of state law in their

capacity of DOC officers, employees, staff, and/or agents.

       243.    Defendants Banks, Behari, Bunton, Caputo, Dunbar, Phillips, Rohr and Velez

aided and abetted Assaulting Officers in subjecting Mr. Alli to excessive force by, amongst other

things: (i) failing to carry out an adequate investigation; (ii) failing to provide a non-biased

Hearing, (iii) failing to investigate and/or report Mr. Alli’s allegations of excessive force; (iv)

delaying, postponing or otherwise interfering with prompt medical care for injuries resulting

from the Assault; and (v) preventing Mr. Alli from reporting the same by, amongst other things,

denying him phone usage for no legitimate, non-punitive penological purpose.

       244.    These Defendants shared the purpose of the principal Assaulting Officers, namely

to punish, retaliate against and/or otherwise harm Mr. Alli in connection with prior complaints

and grievances Mr. Alli filed against DOC officers and officials.

       245.    These Defendants acted in clear viola        tion of well-settled law, of which a

reasonable person should have been aware, an        d are not entitled to   a good faith defense or

qualified immunity defense.

       246.    This conduct violated Mr. Alli’s clearly established rights and Plaintiff is entitled

to damages for this conduct.

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         THIRTEENTH CLAIM: CLAIM FOR VICARIOUS LIABILITY UNDER
                           RESPONDEAT SUPERIOR
                    (Against City and Policy-making Defendants)

       247.    Plaintiff repeats, re-alleges and incorporates by reference the Paragraphs above as

if fully set forth herein with the same force and effect.

       248.    At all times alleged herein, Defendants acted under color of state law in their

capacity of DOC officers, employees, staff, and/or agents.

       249.    The acts of Assaulting Officers and Uniformed and Supervisory Defendants was

intentional, willful and tortious and committed within the scope of their DOC employment and in

furtherance of the City’s interests.

       250.    These acts proximately caused Mr. Alli’s injuries and violated Mr. Alli’s clearly

established rights.

       251.    Plaintiff is entitled to damages for this conduct.

                                         PRAYER FOR RELIEF

       WHEREFORE, Plaintiff hereby prays for relief and demands judgment in his favor

against defendants, as follows:

               (i)     Compensatory damages in an amount to be determined at trial;

               (ii)    Punitive damages against each defendant, except the City of New York, in

                       any amount to be determined a trial;

               (iii)   Public discipline and sanctioning of Assaulting Officers

               (iv)    Award of reasonable attorneys’ fees, costs and disbursements of this

                       action;

               (v)     Award of Pre- and post-judgment interest, as permitted by law; and

               (vi)    Granting such other and further relief as this Court deems just and proper.

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